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                                                                                                   CLEAR FORM




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                            CASE NUMBER:
JAMES RUTHERFORD
                                                                             5:19-cv-01406-PA-KK

                          v.                 Plaintiff(s)

 INA BUSINESS MANAGEMENT, INC., et.al.
                                                                               NOTICE OF
                                                                             MEDIATION DATE
                                          Defendant(s).



YOU ARE HEREBY NOTIFIED THAT THE PANEL MEDIATOR HAS SCHEDULED A MEDIATION
IN THE ABOVE-CAPTIONED CASE

for November 18, 2019                      at 10:00             ✔   a.m. /    p.m.

LOCATION: Riverside Federal Courthouse, 3470 12th StreetRiverside Ca. 92501



 The mediation session must be completed and an ADR-03 Report must be filed on or before the
 Court-ordered completion date.


Continuances are not favored and can only be granted by the Mediator up to the Court-ordered completion
date. Absent extraordinary circumstances, parties cannot request a continuance within three (3) business
days of a scheduled mediation.



Dated: November 8, 2019                        Panel Mediator: Steven E. Moyer
                                               Address:               41750 Rancho Las Palmas, Suite K-1
                                                                      Rancho Mirage,
                                                                      CA 92270
                                               Phone:                 Tel 760.636.1496 Cell 310.968.3290




ADR–13 (01/12)                           NOTICE OF MEDIATION DATE                                      Page 1 of 1
